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March 27, 2025

VIA ECF
Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

       Pursuant to the Court’s Individual Rules, we submit this letter to respectfully request
permission for an extension of time, to April 1, 2025, to file our reply brief in support of Sean
Combs’s motion to exclude Rule 413 and 404(b) evidence, which is currently due March 28,
2025. The government has no objection to this request.

                                                      Respectfully submitted,

                                                      /s/ Alexandra A.E. Shapiro
                                                      Alexandra A.E. Shapiro
                                                      Jason A. Driscoll
                                                      SHAPIRO ARATO BACH LLP
                                                      1140 Avenue of the Americas, 17th Fl.
                                                      New York, NY 10036
                                                      (212) 257-4880
                                                      ashapiro@shapiroarato.com
                                                      jdriscoll@shapiroarato.com

                                                      Marc Agnifilo
                                                      Teny Geragos
                                                      AGNIFILO INTRATER
                                                      445 Park Ave., 7th Fl.
                                                      New York, NY 10022
                                                      646-205-4350
                                                      marc@agilawgroup.com
                                                      teny@agilawgroup.com

                                                      Anna Estevao
                                                      SHER TREMONTE LLP
                                                      90 Broad St., 23rd Fl.
                                                      New York, NY 10004
                                                      (212) 202-2600
                                                      aestevao@shertremonte.com
